Raymond J. Gannon




Dear Sir:

         I would like to introduce myself to the court. My name is
Raymond J. Gannon and I am a retired FBI Special Agent, having served
for over
 twenty eight years, during the period of 1978 thru 2006. I'm also a
former Officer of the United States Marine Corps serving from 1969 to
1973.
 I have been personally acquainted with James Meek since April of 2018
and consider him a friend to me and my wife, Debra.

 I first me James shoryly after my wife and I had been notified of the
death of my step-son, SFC Jeremiah Wayne Johnson, 14th CRD, 3rd
Special Forces as a result
 of an ISIS ambush on October 4, 2017 in the vicinity of Tongo Tongo,
Niger. It was because of this event and the subsequent attempted
coverup by the Deparment
 of Defence and the US Army, that we reached out to James in an
attempt to uncover the truth about the events surrounding the ambush
and the deaths of four
 American soldiers. James was instrumental in uncovering the real
truth about the events that resulted inthe death of my step-son,
Jeremiah.

 I'm a personal friend of James and would like to assure the court
that I would do anything to insure that James would meet his
obligation to appear before the court
 at all times.


 Sincerely yours,


 Raymond J. Gannon
